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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA F Case No.: 21-CR-247 (TFH)
v. : 18 U.S.C. § 5104(e)(2)(G)
WEEKS, ET AL :
Defendant.
STATEMENT OF OFFENSE

 

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Jonathan Daniel
“Danny” Carlton, with the concurrence of his attorney, agree and stipulate to the below factual
basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, m Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were mecting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice Presilent Mike
Pence was present and presiding, first in the jomt session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

a At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others mn the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, mcluding the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the buildmg was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

Defendant Carlton’s Participation in the January 6, 2021, Capitol Attack

8. The defendant, Jonathan Daniel Carlton, lives in Raiford, Florida. On January 5,
2021, defendant traveled from Florida to Washington, D.C., via automobile with Defendant
Bradley Weeks. The purpose of the defendant’s trip to Washington, D.C., was to protest Congress’
certification of the Electoral College.

9. On January 6, Defendant Carlton and Defendant Weeks attended the “Stop the
Steal’ rally and then marched with other protestors to the Capitol at the urging of then-President
Donald Trump.

10... Atabout 2:00 p.m., Defendant Carlton was a part of the group that had gathered on
the lawn just north of the Northwest Stairs. Defendant Weeks and Defendant Carlton watched as

other members of the group destroyed the covering on the scaffokding, stood on the balustrade,

and pushed past a line of officers trying to keep people away from the building. From there,

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Defendant Carlton separated from Defendant Weeks and climbed the Northwest Stairs underneath
the scaffolding to the Capitol’s Northwest Terrace.

11. Defendant Carlton moved toward the Senate Wing Door joining a line of people on
the wheelchair ramp waiting to go mside. Defendant Carlton then entered the Capitol with a large
crowd through the Senate Wing Door at about 2:48 p.m.

12. The crowd eventually thinned, and Defendant Carlton was within view of the
Senate Wing Door. However, Defendant Carlton did not leave. Defendant Carlton and Defendant
Weeks began communicating using their cell phone at around 2:58 p.m. to attempt reunite. Around
3:02 — 3:04 p.m., Defendant Carlton texted Defendant Weeks that he was in the Capitol by the
window that “we breached” and was burning up with leg injuries. Defendant Carlton then left
through the Senate Wing Door and texted that he had stepped out for ar. Defendant Carlton texted
Defendant Weeks that if he was outside of the Capitol he should stay out and Defendant Carlton
would find him.

13. Defendant Weeks came inside the Senate Wing Door. Defendant Carlton walked
back into the building. After reuniting with Defendant Weeks, they turned away from the Senate
Wing Door and went further into the Capitol.

14. Defendant Carlton and Weeks traveled through the Crypt, all the way into the Hall
of Columns on the south side of the Capitol They were unable to access the south door, and they
turned around and went north the way they had just come.

15. | Defendant Carlton eventually exited the Capitol through the Senate Wing Door at
approximately 3:30 p.m. Defendant Weeks and Defendant Carlton then lingered on the Northwest

terrace until at least 3:52 p.m.

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16. On January 20, 2021, the defendant told law enforcement that he had been at the
Capitol on January 6, 2021, but that he had not entered the building.

17. On January 22, 2021, the defendant admitted to law enforcement that he entered
the Capitol on January 6, 2021.

Elements of the Offense

18. Jonathan Daniel “Danny” Carlton knowingly and voluntarily admits to all the
elements of 40 U.S.C. § 5104(e)(2)(G). Specifically, defendant admits that he willfully and
knowingly entered the U.S. Capitol Building knowing that that he did not have permission to do
so. Defendant further admits that while inside the Capitol, defendant willfully and knowingly
paraded, demonstrated, or picketed.

Respectfully submitted,
MATTHEW M. GRAVES

United States Attorney
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DEFENDANT’S ACKNOWLEDGMENT

I, Jonathan Daniel Carlton, have read this Statement of the Offense and have discussed it
with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

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Defehdant
ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my chent fully. I concur
in my Client's desire to adopt this Statement of the Offense as true and accurate.

Richard Landes
Attorney for Defendant

     

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